Case 1:22-mj-03809-AOR Document 1 Entered on FLSD Docket 10/21/2022 Page 1 of 10




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.            22-mj-03809-AOR




  UNITED STATES OF AMERICA

  v.

  DELVIS LARA FUENTES,
  YOSLANY LEYVA DEL SOL, and
  LEDIER MACHIN ANDINO.

              Defendants.
  ___________________________________________/

                                 CRIMINAL COVER SHEET

  1. Did this matter originate from a matter pending in the Northern Region of the United States
     Attorney=s Office prior to August 8, 2014 (Mag. Judge Shaniek Maynard)? __ Yes X No

  2. Did this matter originate from a matter pending in the Central Region of the United States
     Attorney=s Office prior to October 3, 2019 (Mag. Judge Jared Strauss)?    Yes X No


                                                    Respectfully submitted,

                                                    JUAN ANTONIO GONZALEZ
                                                    UNITED STATES ATTORNEY

                                             BY:    /s/ Maria L. Catala
                                                    Maria L. Catala
                                                    Assistant United States Attorney
                                                    U.S. Attorney’s Office – SDFL
                                                    FL Bar 1000435
                                                    99 NE 4th Street, 6th Floor
                                                    Miami, Florida 33132
                                                    Tel: (305) 961-9180
                                                    Email: Maria.catala@usdoj.gov
Case 1:22-mj-03809-AOR Document 1 Entered on FLSD Docket 10/21/2022 Page 2 of 10




                                                    22-mj-03809-AOR




                                                              Face Time

     10/21/22
Case 1:22-mj-03809-AOR Document 1 Entered on FLSD Docket 10/21/2022 Page 3 of 10




                   AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

         I, Robert J. Palombo, Jr., being duly sworn, depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

     1. I am a Special Agent with Homeland Security Investigations (“HSI”) and have been so

  employed since 2002. As a Special Agent with HSI, I successfully completed academy training,

  including the federal Criminal Investigator Training Program and HSI Special Agent Training at

  the Federal Law Enforcement Training Center in Georgia. I am currently assigned to the HSI

  Miami, El Dorado Task Force South (“EDTF-S”) to investigate financial crimes, including

  Organized Retail Crime, Illicit Proceeds/ Foreign Public Corruption, drug trafficking, and money

  laundering. EDTF-S is an investigative entity that is a multi-agency law enforcement task force

  formed for the purpose of identifying, seizing, and apprehending individuals and assets employed

  in the illegal trades of domestic and international narcotics trafficking and money laundering with

  any nexus to the Southern District of Florida.

     2. During my employment with HSI, I have participated in numerous narcotics and money

  laundering investigations that have included but are not limited to physical and electronic

  surveillance, interception and analysis of wire and oral communications, execution of search and

  arrest warrants, evidence handling, undercover operations, the control and administration of

  confidential sources, international drug importations, and domestic drug distribution

  organizations. I have participated in the arrest and subsequent prosecution of numerous drug

  traffickers and money launderers. On numerous occasions, I have spoken with informants,

  suspects, and experienced narcotics and money laundering investigators concerning the manner,

  means, methods, and practices that drug traffickers and money launderers utilize to further the

  operation of their illicit organizations. I have hundreds of hours in law enforcement and legal
Case 1:22-mj-03809-AOR Document 1 Entered on FLSD Docket 10/21/2022 Page 4 of 10




  training, as well as specific training in the Black-Market Peso Exchange and Trade Base Money

  Laundering. My training and experience provided me the ability to identify effective methods of

  investigating and dismantling financial and organized crime groups as well as drug trafficking and

  money laundering organizations.

     3. I submit this Affidavit in support of a criminal complaint against DELVIS LARA

  FUENTES (“FUENTES”), YOSLANY LEYVA DEL SOL (“DEL SOL”), and LEDIER

  MACHIN ANDINO (“ANDINO”). As explained below, there is probable cause to believe that

  on or about the date of October 20, 2022, in the Southern District of Florida, the above-named

  subjects knowingly transported in interstate commerce, goods, wares, and merchandise of the

  value of $5,000 or more, knowing the same to have been stolen, converted, or taken by fraud, in

  violation of Title 18, United States Code, Section 2314.

     4. The information contained in this Affidavit is based on my personal knowledge, as well as

  information relayed to me by other law enforcement officials involved in this investigation, as well

  as my review of records, documents, and other physical items obtained during this investigation.

  I have not included in this Affidavit every fact known to me about this investigation. Rather, I

  have included only the facts that are sufficient to establish probable cause to charge FUENTES,

  DEL SOL, and ANDINO for the violation described above.

                                        PROBABLE CAUSE

     5. On or about June 26, 2022, and June 27, 2022, Lancaster County Sheriff’s Office (“LSO”)

  in Nebraska was notified about two thefts of semi-tractors and trailers loaded with beef valued at

  approximately $232,666.64 and $157,380, stolen in Emerald, Nebraska. When law enforcement

  recovered the trailers, they were empty.

     6. On or about June 30, 2022, LSO executed telephone tower dumps of the time and locations



                                                   2
Case 1:22-mj-03809-AOR Document 1 Entered on FLSD Docket 10/21/2022 Page 5 of 10




  where the aforementioned semi-tractor and trailer thefts occurred. Based on phone analysis, law

  enforcement determined that telephone number 305-731-8913 registered off the telephone towers

  at each of the theft locations described above and at the approximate times of the vehicle thefts.

  Telephone number 305-731-8913 is registered to FUENTES. FUENTES also possesses a Class A

  commercial driver’s license and lives in Miami Gardens, Florida.

     7.      After analyzing records for FUENTES’ cell phone, law enforcement discovered that

  FUENTES made approximately 124 voice calls to 786-303-4269 and 41 calls to 305-684-2694.

  Telephone number 786-303-4269 is registered to DEL SOL. DEL SOL also has a valid commercial

  driver’s license, and resides in Hialeah, Florida. Telephone number 305-684-2694 is registered to

  ANDINO. ANDINO also has a valid Class A commercial driver’s license, and resides in Miami,

  Florida.

     8.      On or about August 25, 2022, pursuant to a cell phone search warrant and cell site analysis,

  law enforcement learned that both ANDINO’s (305-684-2694) and DEL SOL’s (786-303-4269)

  cellular telephones were physically present at the same locations in Nebraska at the same times as

  the aforementioned thefts.

     9.      On or about September 16, 2022, law enforcement observed, through real-time GPS

  tracking, a semi-tractor registered to DEL SOL travelling on Interstate 80 in Lincoln, Nebraska.

  Within a few seconds, law enforcement observed two other semi-tractors with trailers following

  the semi-tractor registered to DEL SOL. One of the semi-tractor trailers was registered to Yser

  ADAYLIS, who law enforcement believes to be a friend of FUENTES.

     10. Video surveillance at a truck yard later revealed that on or about June 25, 2022, FUENTES,

  DEL SOL, and ANDINO were together at a truck yard in Grand Island, Nebraska.

     11. In September and October 2022, LSO obtained Pen Register warrants for the phones



                                                      3
Case 1:22-mj-03809-AOR Document 1 Entered on FLSD Docket 10/21/2022 Page 6 of 10




  belonging to FUENTES, DEL SOL, and ANDINO, which included real time data. Based on this

  cell phone data and cell site analysis, law enforcement learned that FUENTES, DEL SOL, and

  ANDINO left Miami, Florida, on or about October 10, 2022.

     12. On or about October 12, 2022, law enforcement observed FUENTES, DEL SOL, and

  ANDINO at a Loves Travel Center located in Columbia, Tennessee.            FUENTES was driving a

  silver semi-tractor (2012 silver Peterbilt 389, Florida JD22HD) with no trailer; DEL SOL was

  driving a white semi-tractor (2007 Peterbilt, Florida JB20HD) with no trailer; and ANDINO was

  driving a red/brown semi-tractor (2009 red/brown Kenworth T660, Florida JD21HD) with a trailer.

     13. On or about October 13, 2022, law enforcement located FUENTES, DEL SOL, and

  ANDINO driving near Des Moines, Iowa. At that time, law enforcement placed GPS trackers on

  the 2012 silver Peterbilt 389, Florida JD22HD, driven by FUENTES and the 2009 red/brown

  Kenworth T660, Florida JD21HD, driven by ANDINO.

     14. Law enforcement then observed FUENTES, DEL SOL, and ANDINO get into the white

  semi-tractor and start driving around semi-tractor yards in Iowa at a slow rate of speed. Cell data

  also confirmed FUENTES, DEL SOL, and ANDINO were present together at this time. Law

  enforcement observed FUENTES, DEL SOL, and ANDINO doing this for a few hours before

  returning to the other two semi-tractors. Based on training and experience, law enforcement

  believed FUENTES, DEL SOL, and ANDINO were casing semi-tractor yards where trailers are

  commonly stored looking for product to steal.

     15. Law enforcement next observed FUENTES, DEL SOL, and ANDINO driving in Sioux

  City, Iowa. FUENTES, DEL SOL, and ANDINO were observed doing the same type of activity,

  driving in and out of various semi-tractor lots at a slow rate of speed.

     16. On or about October 13, 2022, law enforcement placed a GPS tracking device on the white



                                                    4
Case 1:22-mj-03809-AOR Document 1 Entered on FLSD Docket 10/21/2022 Page 7 of 10




  semi-tractor (2007 Peterbilt, Florida JB20HD). On or about October 14, 2022, law enforcement

  observed FUENTES, DEL SOL, and ANDINO driving in Sioux Falls, South Dakota.

        17. On or about October 15, 2022, law enforcement learned that a trailer was stolen from

  Thermo King in Sioux Falls, South Dakota, the night before. 1 The trailer contained approximately

  19 pallets of ham, valued at approximately $40,000. A review of the bill of lading assigned to the

  19 pallets of ham listed the lot number assigned to this load as being LOT 91700.

        18. GPS tracking data of FUENTES, DEL SOL, and ANDINO, revealed that the white semi-

  tactor previously driven by DEL SOL was present at the same location in Sioux Falls, South

  Dakota and present at the approximate time when the trailer was stolen.

        19. Later, on October 15, 2022, the stolen trailer was located and recovered at 5050 Foundation

  Court, Sioux Falls, South Dakota. Tracking data also put the silver semi-tractor with trailer

  previously driven by DEL SOL near the same location as the recovered trailer.

        20. Through real-time GPS tracking, law enforcement then observed FUENTES, DEL SOL,

  and ANDINO traveling from Sioux Falls, South Dakota, to Worthington, Minnesota.

        21. On October 16, 2022, law enforcement learned that on October 15, 2022, two-semi tractors

  and three electric pallet jacks were reported stolen from Pipestone Veterinary Services Overstock

  Warehouse in Pipestone, Minnesota.

        22. On or about October 15, 2022, from 16:00-16:50, law enforcement placed the silver semi-

  tractor previously driven by FUENTES at the same location where the semi-tractors were stolen

  through GPS data. Cell site data also placed FUENTES, DEL SOL, and ANDINO in the area.

        23. On or about October 15, 2022, according to GPS data, at approximately 20:00-21:00, the

  silver semi-tractor previously driven by FUENTES was around the area of JBS, which is a meat



  1
      Thermo King reported the theft to local police.
                                                     5
Case 1:22-mj-03809-AOR Document 1 Entered on FLSD Docket 10/21/2022 Page 8 of 10




  company located in Worthington, Minnesota.

      24. On or about October 15, 2022, at approximately 22:00, all three semi-tractors (the white,

  silver, and red/brown semi-tractor, previously described in paragraph 12) with one trailer arrived at

  Shopko, located at 1755 North Humiston Ave, Worthington, Minnesota. On October 16, 2022,

  law enforcement learned that after midnight, two semi-tractors and two trailers were stolen from

  JBS in Worthington, Minnesota. Each trailer contained 22 pallets of pork valued at approximately

  $150,000. A GPS on at least one of the trailers showed that the trailer was taken from JBS to the

  Shopko, located at 1755 North Humiston Ave, Worthington, Minnesota.

      25. On or about October 16, 2022, according to GPS tracking, at approximately 01:30 all three

  semi-tractors driven by FUENTES, DEL SOL, and ANDINO left the Shopko area and proceeded

  towards Miami, Florida.

      26. On or about October 18, 2022, at approximately 02:10, Tennessee Highway Patrol

  conducted a traffic stop and a “DOT inspection” of the white semi-tractor (2007 Peterbilt, Florida

  JB20HD).      The driver was identified as FUENTES.        An inspection of the trailer revealed 19

  pallets of pork. This merchandise matched the stolen items, which was confirmed by the box labels

  on the meat, from the Sioux Falls, South Dakota theft on October 16. FUENTES provided law

  enforcement with what appeared to be a fake bill of lading for the pork commodity. Based on

  training and experience law enforcement was able to flag the fake bill of lading because it

  contained the wrong state of origin at the top, the transporting company name was incorrect, it was

  only one page, which is unusual in a shipment of meat, and it did not match the authentic bill of

  lading from the victim. Further, FUENTES was also operating without proper DOT authority,

  meaning his semi-tractor did not have the appropriate registration to be hauling goods of any kind,

  including a trailer.



                                                   6
Case 1:22-mj-03809-AOR Document 1 Entered on FLSD Docket 10/21/2022 Page 9 of 10




     27. HSI Miami continued to monitor the GPS trackers for all three of the tractor-trailers

  as they travelled toward the South Florida area. On the morning of October 20, 2022, Florida

  Highway Patrol (“FHP”) troopers observed all three tractor-trailers pass them on I-75 E in the

  Weston, Florida area and began following them onto the southbound exit of state Hwy US 27.

  While following the truck driven by FUENTES, FHP initiated a traffic stop for a faulty

  equipment violation.

     28. During the stop, FHP made contact with FUENTES and asked him about his cargo.

  FUENTES presented the fake bill of lading and paperwork showing that he had been

  previously stopped by the Tennessee Highway Patrol for a DOT inspection and had received

  several citations for DOT violations. FUENTES consented to the inspection of his entire

  truck and trailer.

     29. Upon inspection of the trailer, law enforcement discovered a refrigerated area of the

  container and a bulk shipment of pork products. The labels and serial numbers on the

  containers and meat wrappings showed inconsistencies with what was alleged on the bill of

  lading provided by FUENTES. Also, FUENTES was visibly nervous during questioning.

     30. A short time later, law enforcement located the other two trucks driven DEL SOL and

  ANDINO parked in a commercial truck lot. Law enforcement approached DEL SOL and

  ANDINO, who were standing outside their trucks and detained them. DEL SOL and ANDINO

  consented to an inspection of their cargo containers and law enforcement discovered the cargo

  was in fact the same products that had been reported stolen to police in the Minnesota and

  South Dakota thefts earlier in the week, corroborated by the product labels and cross-

  referenced with the real bills of lading. Further, it was determined that several electric pallet

  jacks that had been found in the cargo areas of the trucks had also been reported stolen to



                                                 7
Case 1:22-mj-03809-AOR Document 1 Entered on FLSD Docket 10/21/2022 Page 10 of 10




                                   Face Time
        21st
